                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

VFC PROPERTIES 10, LLC, as Successor                 )
Plaintiff to VFC PARTNERS 10, LLC,                   )
                                                     )
         Plaintiff,                                  )
                                                     )   Case No. 3:10-cv-00945
v.                                                   )   Judge Aleta A. Trauger
                                                     )
THE REED FAMILY REAL ESTATE                          )
PARTNERSHIP TWO, L.P.,                               )
                                                     )
         Defendant.                                  )
                                                     )

   REVISED ORDER GRANTING THE APPLICATION FOR APPROVAL OF ALL
 RECEIVERSHIP FEES, MANAGEMENT FEES, ATTORNEY FEES, AND EXPENSES

         This matter is presently before the Court on the application of Ben A. Burns, the Receiver

appointed herein of Cornerstone Commercial Real Estate Services of Tennessee, LLC (formerly

with Cassidy Turley Midwest Division, Inc.) (the “Receiver”), and Gullett, Sanford, Robinson

and Martin, PLLC (“GSR&M”), counsel for the Receiver, for the approval of compensation and

reimbursement of expenses.

         The application seeks approval of fees of the Receiver for the period October 20, 2010

through September 30, 2012, fees for management of the Receivership property for the period

October 20, 2010 through September 30, 2012, and fees and expenses incurred by GSR&M on

behalf of the Receiver from October 20, 2010 through September 30, 2012.

         It appears to the Court that proper application for professional fees has been made by the

applicants, and that such application is appropriate in all respects. It further appears that the

application should be granted as more particularly set forth hereinbelow;




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       IT IS, THEREFORE, ORDERED as follows:

       A.     The application of the Receiver for allowance of compensation in the amount of

$17,510.00 for services rendered for the period October 20, 2010 through September 30, 2012 is

hereby granted;

       B.     The application of the Receiver for allowance of fees paid to the management

company Cassidy Turley for management of the Receivership property in the amount of

$45,231.40 for the period October 20, 2010 through September 30, 2012 is hereby granted;

       C.     The application of GSR&M for allowance of compensation in the amount of

$66,826.50, and reimbursement of expenses in the amount of $368.27, incurred by GSR&M in

rendering services to the Receiver from October 20, 2010 through September 30, 2012 is hereby

granted.

                     13th
       ORDERED the _____________            November
                                 day of _______________________, 2012.

PREPARED FOR ENTRY

/s/ Thomas H. Forrester
Thomas H. Forrester, BPR No. 10956
D. Hiatt Collins, BPR No. 28182                   ___________________________________
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